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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
           Plaintiffs,                               MEMORANDUM DECISION AND
                                                     ORDER DENYING DEFENDANTS’
                                                     MOTION FOR IMMEDIATE
                                                     INQUIRY INTO POSSIBLE JURY
                                                     MISCONDUCT, GRANTING
                                                     PLAINTIFF’S MOTION TO STRIKE
                                                     AND DENYING MOTION FOR
                                                     ORAL HEARING ON POST TRIAL
                                                     MOTIONS


                   vs.


 RANDY L. HAUGEN, et al.,                            Case No. 1:95-CV-94 TS
           Defendants.




                                    I. INTRODUCTION

       The general rule is “the losing party cannot, in order to secure a new trial, use the

testimony of jurors to impeach their verdict.”1 Defendants argue that this case falls within

an exception to the general rule on the issue of whether “extraneous prejudicial information



       1
           McDonald v. Pless, 238 U.S. 264, 269 (1915).

                                             1
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was improperly brought to the jury’s attention.”2 Because the proffered juror statements

do not show any juror exposure to extraneous information, Defendants may not use the

juror statements to attempt to impeach the verdict.

                     II. FACTUAL AND PROCEDURAL BACKGROUND

       After many years of litigation and three appeals, the jury heard this case over the

course of a two-week trial. At the close of the evidence, the jury found in favor of Plaintiff

and awarded damages in the amount of $19,250,000. After returning its verdict, the jury

was polled in open court. Each juror individually affirmed that the verdict was their true and

correct verdict.

       About a week later, Defendants filed the present Motion for Immediate Inquiry into

Possible Jury Misconduct. Attached to the Motion were affidavits from Jurors Nos. 4, 5,

and 8. Juror No. 4's affidavit had one typewritten paragraph crossed out and a significant

paragraph inserted by hand.

           At the same time, the Court received by mail a copy of Juror No. 4's Affidavit,

including the handwritten addition, and a letter from Juror No. 8.3 The letter from Juror No.

8 was sent directly to the Court and contained statements at variance with the statements

in her Affidavit.4 Subsequent to Plaintiff’s objection to the consideration of unsworn

       2
           Fed. R. Evid. 606(b)(1).
       3
          Sealed Docket No. 1153 (Juror No. 4's Affidavit) and Sealed Docket No. 1154
(letter from Juror No. 8). Mindful of the jurors’ privacy, the Court filed these two
documents under seal and refers herein to the jurors by their juror numbers.
       4
       Compare Sealed Docket No. 1154, at 1 Letter from Juror No. 8 (fourth
paragraph) and 2 (first partial paragraph) with Docket No. 1156, Ex. C, Affidavit of
Juror No. 8 at 2, ¶¶ 8 and 6.

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affidavits, Defendants submitted sworn copies of the affidavits of Jurors Nos. 4 and 5,5 but

did not submit a sworn copy of Juror No. 8's affidavit. The Court will refer to the affidavits

and the letter collectively as the juror statements.

       After Defendant’s counsel had already conducted their own “inquiry” of an unknown

number of the jurors,6 during which counsel explained Defendants’ position to at least one

of the juror-affiants7 and obtained the affidavits from three of the jurors, Defendants

requested that the Court prohibit any other party contact with the jurors.8 Plaintiff stipulated

to the no-contact request.

       Defendants argue that the juror statements show they received extraneous

information, misread or ignored the instructions, and rendered a quotient verdict. Based

upon the juror statements, Defendants seek to have the Court conduct an inquiry on

“possible jury misconduct,” namely whether the jury relied upon extraneous prejudicial

information and whether the verdict was a quotient verdict.




       5
           Docket No. 1187, Exs. A and B.
       6
       Defs.’ Mem. at 3 (representing that in the course of counsel’s inquiry, “Counsel
for Defendants then followed-up with [Juror No. 5]; they also contacted other jurors,
seeking corroboration of [Juror No. 5's] statements and additional information.”).
       7
      Juror No. 8 Letter, at 1, ¶ 5 (“Learning from [Defendant’s counsel] Mr.
McCormack that legal fees may be considered over and above [the verdict,] the
damages that we awarded became a concern to me.”). This portion of the juror
statement does not fall within Rule 606(b) because it involves an event after trial.
       8
        Defs.’ Mem. at 10 (“In order to preserve the sanctity and objectivity of the
inquiry, Defendants . . . request that all parties be precluded from contacting jurors
pending completion of the court’s inquiry.”).

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       Defendants subsequently filed other post-trial motions, including objections to

Plaintiff’s Bill of Costs. Defendants move for oral argument on all of the post-trial matters

on the grounds that the matters are all interrelated. Defendants also argue that the

reasons they seek oral argument should be maintained under seal.9 Plaintiff moves to

strike the juror statements as filed in violation of Rule 606(b) and opposes setting the post-

trial matters for oral argument.

       The Court agreed to consider all post-trial matters together, including the objections

to the Bill of Costs. Having considered the entire record in this case, the Court rules herein

on the Motions relating to the juror statements and the request for a hearing. By separate

orders, the Court will address the post-trial motions and the objection to the Bill of Costs.

                           III. NO EXTRANEOUS INFORMATION

       Federal Rule of Evidence 606(b) provides:

       606(b) Inquiry into validity of verdict or indictment.

       Upon an inquiry into the validity of a verdict . . . , a juror may not testify as to
       any matter or statement occurring during the course of the jury's
       deliberations or to the effect of anything upon that or any other juror's mind
       or emotions as influencing the juror to assent to or dissent from the verdict
       or indictment or concerning the juror's mental processes in connection
       therewith. But a juror may testify about (1) whether extraneous prejudicial
       information was improperly brought to the jury's attention, . . .. A juror's
       affidavit or evidence of any statement by the juror may not be received on a
       matter about which the juror would be precluded from testifying.10



       9
           See, e.g., Defs.’ Reply in Supp. of Mot. for Oral Argument, at 3.
       10
        Fed. R. Civ. P. 606(b) (emphasis added). The other two exceptions contained
in Rule 606(b) are not relevant to this case.

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       Extraneous matters within the meaning of Rule 606(b) do not include the type of

“general knowledge, opinion, feelings and bias that every juror carries into the jury room.”11

“A juror's personal experience, . . . does not constitute ‘extraneous prejudicial

information.’”12 Thus, the “general knowledge that every juror brings into the jury room by

reason of the juror's life experience” is not extraneous.13 For this reason, Rule 606(b)

“bars proof that one or more jurors improperly speculated on extrarecord matters such as

the impact of . . . contingent fees” on the verdict.14 Similarly, “jurors cannot be heard to

testify that while the substance of the verdict returned into court was understood, it was

predicated upon a mistake of the testimony, a misrepresentation of the law, unsound

reasons or improper motives.”15



       11
         Fields v. Brown, 503 F.3d 755, 781 (9th Cir. 2007) (quoting Hard v. Burlington
Northern R.R. Co., 870 F.2d 1454, 1461 (9th Cir. 1989) (“The type of after-acquired
information that potentially taints a jury verdict should be carefully distinguished from
the general knowledge, opinions, feelings, and bias that every juror carries into the jury
room.”) and United States v. Johnson, 495 F.3d 951, 982 (8th Cir. 2007) (holding jurors’
impressions regarding the appellate process, although they “may be incorrect and
taking such opinions into account may even, in some circumstances, be improper” such
jury discussion of impressions does not involve extraneous information)).
       12
            Marquez v. City of Albuquerque 399 F.3d 1216, 1223 (10th Cir. 2005).
       13
           Stewart v. Amusements of Am., 1998 WL 406868, *4 (4th Cir. 1998) (holding
that statements by juror who identified himself as a lawyer; stated the jury was not
allowed to send notes to the judge indicating that it was deadlocked; and expressed his
view that the jury needed to reach a compromise; all “fall squarely within the category of
the type of general knowledge that every juror brings into the jury room by reason of the
juror’s life experience”).
       14
       Christopher B. Mueller and Laird C. Kirkpatrick, 3 Federal Evidence § 248 (2nd
ed. 2007) (collecting cases).
       15
            Young v. United States, 163 F.3d 187, 189 (10th Cir. 1947).

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       In Marquez, the Tenth Circuit held that alleged statements made by a juror during

deliberations asserting personal knowledge of police dog behavior “did not constitute

‘extraneous prejudicial information’”16 even though the jury was deciding the

reasonableness of the officer’s order to his police dog to apprehend the plaintiff. In Holden

v. Porter,17 the Tenth Circuit found that one juror’s alleged statement during deliberations

that all persons in defendant’s position at the time of the automobile accident (“military

personnel in foreign service”) carried liability insurance did not show extraneous and

improper influence.18 Accordingly, the Tenth Circuit held it was improper to allow jurors to

testify regarding the matter or the effect, if any, such statements had on their

deliberations.19 In Lohr v. Tittle,20 the record included juror depositions alleging that one

juror made a statement during deliberations that he had visited the accident scene where

he had observed that the traffic was slow.21 The Tenth Circuit in Lohr noted that “whatever

was said was confined to discussions with jurors and there were not extraneous matters

injected into the case.”22


       16
        399 F.3d at 1223 (citing 3 Jack B. Weinstein & Margaret A. Berger, Weinstein's
Federal Evidence § 606.03(1)(b) (Joseph M. McLaughlin, ed., Matthew Bender 2d ed.
2004).
       17
            405 F.2d 878 (10th Cir. 1969).
       18
            Id. at 879.
       19
            Id.
       20
            275 F.2d 662 (10th Cir. 1960).
       21
            Id. at 667.
       22
            Id.

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       In the present case, Defendants argue that the juror statements are admissible

evidence because they allege extraneous prejudicial information that falls within the

exception set forth in Rule 606(b)(1). Specifically, Defendants argue that the jurors’

alleged discussion of the probable amount of legal fees23 that Plaintiff had incurred is

extraneous information. Plaintiff contends that the juror statements are inadmissible under

Rule 606(b).

       The Court finds the juror statements allege only that several jurors discussed with

the other jurors their own past experiences with legal fees—matters within those juror’s

own general life experience. As determined in Marquez, such jurors’ personal experiences

are not extraneous information. Such an alleged discussion is also not an extraneous

matter injected into the case because, as in Lohr, the alleged statements were confined

to discussions amongst jurors during their deliberations. There is no allegation that a juror

was told information about this case by a source outside of the jury during trial or that such

outside information was thereafter conveyed to the other jurors.24

       Similarly, unlike the case Mayhue v. St. Francis Hosp. of Wichita, Inc.,25 cited by

Defendants,26 this case does not involve extraneous information in the form of a dictionary

       23
            Docket No. 1187, Defs.’ Opp. to Mot. to Strike, at 2.
       24
        See, e.g., Southern Pac. Co. v. Klinge, 65 F.2d 85, 87-88 (10th Cir. 1933)
(holding that facts disclosed by juror affidavits should have been considered by the trial
court as extraneous information because one juror told others he had, during a break in
deliberations, verified with an outside source that defendant had been offered a certain
settlement amount).
       25
            969 F.2d 919 (10th Cir. 1992).
       26
            Defs.’ Reply, at 7; Defs.’ Reply in support of Mot. For New Trial, at 6-7.

                                                7
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definition of words in a note brought into the jury room by the foreperson and read by the

foreperson to other jurors. In the present case, the Court finds that the alleged statements

regarding the juror’s personal experience with the hourly rates for lawyers or the high costs

of legal fees are matters which fall within the general knowledge or opinion that every juror

carries into the jury room by reason of their life experiences. Therefore, any alleged

statements about the same do not show extraneous information within the meaning of Rule

606(b).

        Defendants also contend that Rule 606(b) contains a large “gray area” of information

falling between admissible information on extraneous matters and inadmissible information

on the jury’s mental processes.27 Defendants contend that under Olivas v. City of Hobbs28

“where the jury attaches its own meaning to a term undefined in the instructions and

expresses that meaning to the court as the basis for the verdict . . . the trial court may not

ignore it.”29

        Olivas does not stand for the proposition that the Court must consider the substance

of any juror affidavit alleging that the jury attached its own meaning to a term undefined in

the instructions. Olivas did not involve extraneous information considered by the jury.30

Instead, it involved unique facts in that the jury’s note in Olivas was rendered together with




        27
             Defs.’ Reply at 6-7.
        28
             50 Fed. Appx. 936 (10th Cir. 2002).
        29
             Defs.’ Reply at 6 (quoting Olivas, 50 Fed. Appx. at 941).
        30
             50 Fed. Appx. at 941.

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and presented as part of the jury’s verdict.31 The note returned with the verdict stated the

jury’s definition of the term “planting evidence,” the same issue the trial court had refused

to answer the jury’s question about during their deliberations. Thus, Olivas did not involve

post-verdict juror affidavits on matters that would be inadmissible under Rule 606(b), and

is not applicable to the present case.

       Defendants also attempt to distinguish the controlling case law applying Rule 606(b)

by contending that the jurors allegedly considered the extraneous matter of the necessity

of legal fees. This is not an allegation that an extraneous matter within the meaning of

Rule 606(b) was considered by the jury.          Instead, it is an allegation that the jury

misunderstood the instructions or the law on damages. Moreover, Defendants’ attempted

distinction is unavailing because Rule 606(b) bars juror testimony on “even serious errors

or misunderstandings on points of law or the proper basis of decision.”32

       Defendants have failed to show extraneous information was improperly brought to

the jury's attention as required under Rule 606(b) for the admission of the juror statements

or live testimony. The alleged incident in this case is similar to the one discussed in


       31
            Id. at 939.
       32
         Christopher B. Mueller and Laird C. Kirkpatrick, 3 Federal Evidence § 248 (2nd
ed. 2007) (collecting cases); accord United States v. Miller, 806 F.2d 223, 225 (10th Cir.
1986) (holding that, in the absence of a claim showing “external” interference with the
jury’s deliberative process, it was not error for trial court to refuse to conduct an inquiry
of a juror who post-deliberations stated, among other things, she may have
misunderstood the instructions); Biocore, Inc. v. Khosrowshahi, 80 Fed.Appx. 619,
625-26 (10th Cir. 2003) (noting juror statements have been held incompetent to show
“misinterpretation of instructions”) (quoting Advisory Committee Notes to the 1972
Proposed Rule 606(b) (citing Farmers Co-op Elev. Ass’n v. Strand, 382 F.2d 224, 230
(8th Cir. 1967))).

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Holden, discussed above.33 As in Holden, the “incident complained of constituted no

misconduct in fact.”34 Therefore, because there was extraneous information, the Court

need not consider the prejudicial prong.

                                IV. NO QUOTIENT VERDICT

       In the alternative, Defendants request that the Court conduct an examination of the

jurors to determine whether there was an improper quotient verdict. A quotient verdict is

one in which the jury agrees in advance to be bound by the result to be obtained by

division (the quotient) in advance of knowing the result of its arithmetic.35 As noted in E.L.

Farmer & Co. v. Hooks,36 jurors sometimes employ “the process of addition and division”

as a method of bringing themselves to agreement.37 Such process is not improper if, after

the quotient is known, “each juror for himself agrees severally and collectively that the sum

reached in that manner shall be carried forward into the verdict.”38 “The vice which renders

a verdict subject to impeachment on the ground of being a quotient verdict is an agreement

in advance to accept the amount as the verdict, without subsequent consideration.”39


       33
            405 F.2d at 879.
       34
            Id.
       35
        National R.R. Passenger Corp. v. Two Parcels of Land One 1691 Sq. Foot
More or Less Parcel of Land in Town of New London, New London County and State of
Conn., 822 F.2d 1261, 1268 (2nd Cir. 1987).
       36
            239 F.2d 547 (10th Cir. 1957).
       37
            Id. at 554.
       38
            Id.
       39
            Id.

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       Although a true quotient verdict would be improper, the Supreme Court has

definitively ruled in McDonald v. Pless,40 that a juror’s testimony, by affidavit or otherwise,

may not be received into evidence on the manner in which the verdict was reached where

“a private party is seeking to use a juror as a witness to impeach the verdict.”41 This rule

and the public policies it promotes are embodied in Rule 606(b).42 The statement in

McDonald of the public policy reasons for this rule is, as noted by the Tenth Circuit, oft-

quoted:

       But let it once be established that verdicts solemnly made and publicly
       returned into court can be attacked and set aside on the testimony of those
       who took part in their publication and all verdicts could be, and many would
       be, followed by an inquiry in the hope of discovering something which might
       invalidate the finding. Jurors would be harassed and beset by the defeated
       party in an effort to secure from them evidence of facts which might establish
       misconduct sufficient to set aside a verdict. If evidence thus secured could
       be thus used, the result would be to make what was intended to be a private
       deliberation, the constant subject of public investigation; to the destruction
       of all frankness and freedom of discussion and conference.43

       The Tenth Circuit reiterated the McDonald rule in E.L. Farmer & Co. v. Hooks.44 In

E.L. Farmer, the Tenth Circuit acknowledged that the testimony of the jurors could not be



       40
            238 U.S. 264.
       41
            Id. at 269.
       42
            Rule 606, Advisory Committee Notes to the 1972 Proposed Rules.
       43
            Holden, 405 F.2d at 879 (quoting McDonald, 238 U.S. at 267-68).
       44
         239 F.2d at 553 (“Based upon considerations of sound public policy, it is the
well established rule that ordinarily jurors in the United States Court will not be heard to
give testimony, either oral or by affidavit, for the purpose of impeaching the verdict
returned where the facts sought to be shown are such that they essentially inhere in the
verdict.”).

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used to establish a quotient verdict, and then considered the different question of whether

work sheets and scraps of paper allegedly picked up from the wastebaskets and elsewhere

in the jury room after deliberations established that there had been a quotient verdict.45

The Tenth Circuit declined to reach the issue of whether the work sheets and scraps were

admissible because, even if they were, “standing alone [such evidence] was not sufficient

to impeach the verdict.”46 Contrary to Defendants’ argument, there is simply no support

in E.L. Farmer for the position that the Tenth Circuit “anticipated some circumstance where

antecedent agreement [to be bound in advance by the quotient] could be proven by juror

statements.”47

       Among the numerous evils Rule 606 attempts to avoid, the Advisory 1974
       Enactment mentions ‘the possible exploitation of disgruntled or otherwise
       badly-motivated ex-jurors.” Even assuming that jurors can accurately
       remember and state the basis for their verdict, there is no reason to suppose
       that every juror's casual after-the-fact explanation will be fully reliable.48

       In light of the venerable, clear, and controlling law on this issue, it is troubling that

Defendants chose to submit and rely on inadmissible juror affidavits49 attempting to show


       45
        Id. at 553-54. The affidavits in E.L. Farmer were those of appellant’s attorney
and claims representative regarding the source of the “so-called work sheets and
scraps of paper.” Id.
       46
            Id.
       47
            Defs.’ Mem. at 9 n.4.
       48
            Biocore, 80 Fed.Appx. at 625-26.
       49
          See United States v. Voigt, 877 F.2d 1465, 1469 (10th Cir. 1989) (finding
counsel’s apparent request that Tenth Circuit disregard Rule 606(b) and conduct an
inquiry based upon alleged juror statements to be “specious and frivolous” in the
absence of evidence of extraneous prejudicial information improperly brought to the
jury’s attention).

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a quotient verdict.50 This is especially true in view of the fact that the jury was polled in

open court.

       Because jurors may not offer testimony on any matter occurring during the course

of the jury's deliberations and their written statements on these same matters may not be

received in evidence, Defendants cannot impeach the verdict on the ground that it was an

alleged quotient verdict.

                             V. AFFIDAVITS TO BE STRICKEN

       Plaintiff moves to strike the juror statements as inadmissible under Rule 606(b).

The Court finds It would not be necessary to strike the juror statements if they only related

to Defendants’ attempt to show extraneous information was improperly brought to the jury’s

attention—an express exception to Rule 606(b)’s prohibition against the use of juror

testimony. But the record reveals that the Defendants also attempt to use the juror

statements as their testimony on the following matters expressly prohibited by Rule

606(b):51 To establish a quotient verdict by means of statements occurring during the

course of the jury’s deliberations.52 To establish a lack of unanimity by means of




       50
        The Court further notes that the only juror communication that was not filtered
through the losing parties—the letter from Juror No. 8—does not support Defendants’
argument regarding a quotient verdict. See Sealed Docket No. 1154 at 1, ¶ 4 (“I believe
we all agreed . . .”) and 2, ¶ 1 (“Every juror, at the end of deliberation, agreed
individually . . . that the $19,250,000 was a fair amount in damages.”).
       51
        Docket Nos. 1161 (Defs.’ Mot. For a New Trial), 1162 (Mem. in Supp.), at 1 n.1-
5 (quoting affidavits).
       52
            See, e.g., Docket No. 1162, Defs.’ Mem. in Supp., at 2-3.

                                              13
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statements occurring during the course of the jury’s deliberation.53 To show the effect of

different instructions on one juror’s mind or as influencing that juror’s or any other juror’s

mind to assent to the verdict.54 To show statements and matters occurring during the

course of the jury’s deliberations and the jurors’ mental processes in an attempt to impeach

the verdict on the ground that jurors “either misunderstood, were mislead by, or ignored an

instruction.”55 To show the jurors’ mental processes in assenting to the amount of the

damages award.56 All of these purposes are prohibited by Rule 606(b) as explained in the

Rule’s Advisory Committee’s Notes:

       Under the federal decisions the central focus has been upon insulation of the
       manner in which the jury reached its verdict, and this protection extends to
       each of the components of deliberation, including arguments, statements,
       discussions, mental and emotional reactions, votes, and any other feature
       of the process. Thus testimony or affidavits of jurors have been held
       incompetent to show a compromise verdict; a quotient verdict, speculation
       as to insurance coverage; misinterpretation of instructions, mistake in
       returning verdict, [and the] interpretation of guilty plea by one defendant as
       implicating others.57




       53
            Id. at 2.
       54
         See, e.g., Docket No. 1194, Defs.’ Reply at 9 and n.14 (quoting and relying on
juror’s affidavit regarding the alleged effect of a particular instruction on his verdict and
that of other jurors).
       55
        Id. at 9 (arguing that three statements of jurors establish what the jury meant by
its award of damages).
       56
        Docket No. 1159, at 10 (arguing evidence of out-of-pocket expenses insufficient
to support damage award).
       57
       Advisory Committee Notes to the 1972 Proposed Rules as quoted in Biocore,
80 Fed.Appx. at 625-26 (emphasis added and internal citations omitted).

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       The Court finds that all of the matters set forth in the juror statements fall within the

scope of evidence prohibited by Rule 606(b) because they involve alleged “statements

occurring during the course of the jury's deliberations,” the “effect of anything upon that or

any other juror's mind or emotions as influencing the juror to assent to or dissent from the

verdict or indictment,” or concern a juror's alleged “mental processes in connection

therewith.” Defendants’ attempt to use the juror statements for the purposes clearly and

expressly prohibited by Rule 606(b) implicates the concerns for juror harassment and for

the “destruction of all frankness and freedom of discussion and conference” set forth above

from Holden and McDonald.58 Although Defendants do not appear to consider that they

are bound by either the plain language of Rule 606(b) or over ninety years of controlling

case law, this Court is bound by that controlling law.         The law is clear that, absent

extraneous information improperly brought to the jury’s attention, the juror statements are,

in the words of the Tenth Circuit in Holden, “totally incompetent evidence in law.”59

       Accordingly, the Court will grant the Motion to strike the juror statements. The juror

statements will remain in the record for the purposes of appeal but the Court will not

consider them for any purpose other than its determination, above, on the issue of alleged

extraneous information improperly brought to the jury’s attention.

                               VI. REQUEST FOR HEARING




       58
            405 F.2d at 879 (quoting 238 U.S. at 267-68).
       59
        405 F.3d at 879 (discussing trial court’s reliance on juror’s testimony at hearing
on losing party’s motion for a new trial).

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       Defendants requested a hearing on the Motion regarding their allegation of juror

misconduct. Defendants are apparently under the impression that the rule against juror’s

testifying regarding matters set forth in Rule 606(b) does not apply to testimony in

response to the Court’s questions. That impression is incorrect. In Holden, the trial court

held such a hearing and as noted above, the Tenth Circuit found the testimony of the jurors

was “totally incompetent in law.”60 Further, in United States v. Miller,61 the Tenth Circuit

held that where the party seeking to challenge the verdict does not establish “external’

interference with the jury’s deliberative process,” it was within the trial court’s discretion to

decline to hold an evidentiary hearing or inquire of jurors.62 Similarly, in Tanner v. United

States,63 the Supreme Court extensively examined the history and purpose of the present

version of Rule 606(b) and found no error in a trial court’s decision, “based upon the

inadmissibility of juror testimony and clear insufficiency of [proffered] nonjuror evidence,”




       60
            Id.
       61
            806 F.2d 223 (10th Cir. 1986).
       62
         Id. at 226; accord Dunne v. Libbra, 448 F.3d 1024, 1029 n.6 (8th Cir. 2006)
(holding that where the parties “seeking to question jurors present[] no evidence the
verdict was tainted by extraneous information or outside influence, the request for a
hearing is properly denied”) (citing United States v. Tran, 122 F.3d 670, 672-73 (8th Cir.
1997) (holding evidence that jury improperly commented upon and drew negative
inference from defendant’s failure to testify did not justify evidentiary hearing because it
did not establish extraneous information)).
       63
            483 U.S. 107 (1987).

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to refuse to hold a post-verdict evidentiary hearing on the issue of alleged juror alcohol and

drug use during trial.64

       As discussed above, Defendants’ allegations do not show extraneous prejudicial

information was improperly brought to the jury's attention. Therefore, it would be “futile”

to hold an evidentiary hearing because in the absence of such external information, no

juror may testify regarding matters prohibited by Rule 606(b).65

       Defendants also seek a hearing on all post trial motions on the basis that this

district’s restrictive page limitations prevented them from fully addressing the issues, the

motions are interrelated, and financial considerations for the Defendants. The standard

page limitations are not a basis for a hearing.        The parties have made clear the

interrelation of the motions and, as noted above, the Court agreed to considered them

together. The Court has considered the record and does not find that hearings on the

post-trial motions would assist the Court.

                             VII. CONCLUSION AND ORDER

       Based upon the foregoing, it is therefore

       ORDERED that Defendants’ Motion for Immediate Inquiry into Possible Jury

Misconduct (Docket No. 1155) is DENIED. It is further



       64
         Id. at 119-27. In Tanner, the defendants’ counsel obtained a recorded
statement from a juror supporting defendants’ allegations of juror drug and alcohol use.
Id. at 115. Nonetheless, the Supreme Court held it was not error to refuse to hold an
evidentiary hearing where the juror statements were inadmissible and no other
admissible evidence supported the allegations.
       65
            Marquez, 399 F.3d at 1223.

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      ORDERED that Plaintiff’s Motion to Strike Juror Affidavits (Docket No. 1172) is

GRANTED. It is further

      ORDERED that Defendants’ Motion for Hearing (Docket No. 1200) is DENIED.

      DATED this 17th day of June, 2008.

                                BY THE COURT:



                                _____________________________
                                TED STEWART
                                United States District Court Judge




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